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                                                                       February 12, 2025
VIA ECF
Hon. Jennifer E. Willis
United States District Court Judge       The request is GRANTED. SO ORDERED.
Southern District of New York
Thurgood Marshall                        ___________________________________
United States Courthouse                 JENNIFER E. WILLIS
40 Foley Square                          UNITED STATES MAGISTRATE JUDGE
                                         February 13, 2025
New York, NY 10007

              Re: Hannibal Wheatley v. DNP-Y, Inc.
                  Case No. 1:24-CV-07300-JMF-JW

Dear Judge Willis,

        We represent Plaintiff Hannibal Wheatley (“Plaintiff”) in the above referenced ADA
matter. We write now to respectfully inform the Court that the Parties have reached a settlement
in principle in this action.

       In light of the anticipated settlement, we respectfully request that all currently pending
deadlines and conferences in this action be adjourned sine die.

       We thank the Court for its time and attention in this matter.


                                                          Respectfully submitted,




                                                          Arjeta Albani, Esq.
